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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In Re:                                                                    Case No. 15−23482 (RDD)

DENNIS J. POOLE and SANDRA N. POOLE,                                                Chapter 13

                                  Debtors.
------------------------------------------------------------X


                                   LOSS-MITIGATION ORDER

A Loss Mitigation Request1 was filed by the

        □ The Debtors on December 16, 2015;
        □ Creditor on [Date] _____________, 20__;
        □ The Court raised the possibility of Loss Mitigation on [Date] __________, 20__.

Pursuant to the Loss Mitigation Program Procedures, the parties have had notice and an
opportunity to object. Upon the foregoing, it is hereby

        ORDERED, that the following parties (collectively, the “Loss Mitigation Parties”) are
directed to participate in Loss Mitigation on Loan ending in 6283 [last four (4) digits of Loan
account number]:

        1. The Debtors, Dennis J. Poole and Sandra N. Poole; and

      2. The Creditor, WELLS FARGO HOME LOAN with respect to 17 Central Drive,
Nanuet, New York 10954.

     ORDERED, that the Loss Mitigation Parties shall comply with the Southern District of
New York Loss Mitigation Program Procedures; and it is further

        ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

        1. Within 7 days of the entry of this Order:




1
 Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
Mitigation Program Procedures.
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                 o Service of this Order: The Loss Mitigation Party seeking Loss Mitigation
                   shall serve this Order upon the other Loss Mitigation Parties and any
                   additional parties that were served with the Loss Mitigation Request. Upon
                   service of this Order, an affidavit of service shall be filed with the Court.

        2. Within 7 days of the service of the Loss Mitigation Order:

                 o Designation of Contact Persons: Each Loss Mitigation Party shall designate
                   contact persons and disclose contact information, unless this information has
                   been previously provided. As part of this obligation, the Creditor shall furnish
                   each Loss Mitigation Party with written notice of the name, address and direct
                   telephone number of the person who has full settlement authority on the loan
                   in question as well as the attorney or law firm representing the Creditor in the
                   Loss Mitigation; and

                 o Creditor Loss Mitigation Affidavit: The Creditor shall serve upon the
                   Debtor and Debtor’s attorney a request for information using the “Creditor
                   Loss Mitigation Affidavit”2 form and shall file the “Creditor Loss Mitigation
                   Affidavit” form and proof of service of same on the Court’s Electronic Case
                   Filing System (ECF). The Creditor may designate its contact and attorney in
                   the “Creditor Loss Mitigation Affidavit.”

        3. Within 14 days of the service of the Creditor Loss Mitigation Affidavit:

                 o Debtor Loss Mitigation Affidavit: The Debtor shall serve upon the Creditor
                   all documents requested in a response to Creditor’s request for information
                   using the “Debtor Loss Mitigation Affidavit” and Debtor shall file proof of
                   service of said documents using the “Debtor Loss Mitigation Affidavit” on
                   ECF. All documents shall be sent in one complete package and served upon
                   the Creditor’s designated contact person and the Creditor’s attorney.

        4. Within 21 days of the service of the Debtor Loss Mitigation Affidavit:

                 o Conference Call: The Loss Mitigation Parties and their attorneys shall
                   participate in a conference call to discuss the status of Loss Mitigation.

                 o Second Creditor Loss Mitigation Affidavit (if any): The Creditor shall file
                   on ECF and serve upon the Debtor and Debtor’s counsel a second “Creditor
                   Loss Mitigation Affidavit” setting forth any additional financial documents
                   required from the debtor(s), including, if applicable, a detailed description of
                   any inconsistencies found by the Creditor in the Debtor’s documents that

2
 Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
These forms shall be used whenever applicable.
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               requires further clarification and the clarification required, together with an
               affidavit of service for same. Failure to timely file the “Creditor Loss
               Mitigation Affidavit” requesting additional documents or explanations of
               inconsistences, if any, may result in the Creditor waiving its right to obtain
               addition financial information from the Debtor and said Creditor may be
               required to accept the Debtor’s representations regarding income or other
               financial matters;

     5. Within 14 days of the service of the Second Creditor Loss Mitigation Affidavit:

            o Second Debtor Loss Mitigation Affidavit (if any): The Debtor shall provide
              any requested information to the Creditor and file on ECF a second “Debtor
              Loss Mitigation Affidavit” demonstrating service of same upon the Creditor.

     6. Within 60 days of the service of the Loss Mitigation Order:

            o Second Conference Call: The Loss Mitigation Parties and their attorneys
              shall participate in a second conference call if any documents remain
              outstanding.

            o Status Report: The Loss Mitigation Parties shall file a status report in the
              form of a letter evidencing compliance with this Order and updating the Court
              on the status of the Loss Mitigation and summarizing the conference call.

     7. Within 75 days of service of the Loss Mitigation Order:

            o Status Conference: The first status conference shall be held in this case on
              April 13, 2016 at 10:00 AM at the United States Bankruptcy Court
              located at United States Bankruptcy Court, 300 Quarropas Street, White
              Plains, New York 10601 (the “Initial Status Conference”). The Loss
              Mitigation Parties shall appear at the Status Conference and provide the Court
              with a verbal Status Report. The Initial Status Conference cannot be
              adjourned without permission of the Court and consent of the other Loss
              Mitigation Parties.

                  If the Debtor has failed to provide any and all of the requested documents
                   prior to the Initial Status Conference, the Debtor shall appear at the Initial
                   Status Conference with said documents or be prepared to testify as to why
                   the Debtor has failed to provide them.

                  Should Debtor fail to provide to the Creditor all requested documentation
                   as required by the Creditor’s First and/or Second Loss Mitigation
                   Affidavits by the Initial Status Conference, the Creditor may seek
                   termination of Loss Mitigation at the Initial Status Conference, provided
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                        that the Creditor files a “Request to Terminate Loss Mitigation” at least
                        seven (7) days prior to the Initial Status Conference in accordance with the
                        Loss Mitigation Program Procedures.

                       At the Initial Status Conference, the Court may consider a Settlement
                        reached by the Loss Mitigation Parties, or may adjourn the Initial Status
                        Conference, as necessary.

       8. Within 30 days of the Initial Status Conference:

               o Creditor Status Report: The Creditor shall file a status report indicating
                 whether or not the Debtor is entitled to a loan modification. If a modification
                 is offered, this status report shall set forth the terms and conditions thereof. If
                 no determination has been made upon this loan, the status report shall include
                 the name and phone number of the underwriter reviewing the file and the
                 exact level of review of the loan. Failure to do so may result in the Court
                 scheduling a date for Creditor, by a representative of same with full settlement
                 and negotiation authority, to appear before it to explain why it has not
                 provided to the Debtor with such information.

                            Appearance of Bank Representative: Should a representative of the
                             Creditor be required to appear at any time during the Loss Mitigation,
                             the Creditor shall file a letter designating the agent appearing before
                             the Court upon ECF.
And it is further

        ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties may be adjourned by the Court to the date of the Initial Status Conference to the extent
those matters concern (1) relief from the automatic stay, (2) objection to the allowance of a proof
of claim, (3) reduction, reclassification or avoidance of a lien, (4) valuation of a Loan or
Property, (5) objection to confirmation of a plan of reorganization; or (6) any other matter so
scheduled by the Court.

       ORDERED that in a chapter 7 case, the entry of this Order automatically defers the entry
 of an order granting the Debtor’s discharge until one day after an “Order Terminating Loss
 Mitigation and Final Report” is filed pursuant to Federal Rule of Bankruptcy Procedure
 4004(c)(2). The time to object to the Debtor’s discharge or the dischargeability of a debt is
 NOT extended by this Order; and it is further




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        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization shall be extended until 14 days after the filing of an
“Order Terminating Loss Mitigation and Final Report.”

Dated: White Plains, New York
       January 6, 2016



                                                     /s/Robert D. Drain_____
                                                     United States Bankruptcy Judge




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